                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )        No. 3:11-00012-6
                                             )        Judge Sharp
SHATIKA DIX                                  )

                                             ORDER

       The Court is in receipt of a Memorandum from Pretrial Services regarding Defendant’s

alleged failure to comply with the probation officer’s directions on April 8, 2014.

       Defendant is hereby ORDERED to appear on or before noon on April 11, 2014 at the United

States Probation and Pretrial Services office for monthly reporting and to submit to a drug screen.

       It is SO ORDERED.

                                                      ____________________________________
                                                      KEVIN H. SHARP
                                                      UNITED STATES DISTRICT JUDGE




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